               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:09-cr-26-7


UNITED STATES OF AMERICA                      )
                                              )
Vs.                                           )             ORDER
                                              )
MARK TAYLOR LEWIS.                            )
______________________________________        )


        THIS CAUSE came on to be heard and was heard before the undersigned on

November 13, 2009, pursuant to a letter (#235) from the defendant which had been

addressed to the undersigned and which had been filed on November 5, 2009. In the

letter, the defendant made certain requests of the court regarding his “right to due

process”. At the call of this matter on for hearing, the defendant was present with his

counsel, William E. Loose and the government was present through Assistant United

States Attorney Tom Ascik. The undersigned made an inquiry of the defendant and

Mr. Loose as to whether or not they had met and discussed the charges against the

defendant and whether or not the defendant wished to be allowed to file a motion to

request permission to withdraw his plea of guilty. Both the defendant and his counsel

advised the court they had met and that further discussions between the defendant and

his attorney were going to take place. Based upon the statements of the defendant

and his attorney, the court enters the following Order.




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                                     ORDER

       IT IS, THEREFORE, ORDERED that:

      1.    If previous counsel for the defendant has not delivered to Mr. Loose a

complete copy of all documents and discovery contained in previous counsel’s file,

Mr. Loose shall, on or before November 23, 2009, file a motion requesting that the

court order defendant’s previous counsel to produce those documents to Mr. Loose,

and

      2.    The defendant shall be granted up to and including December 7, 2009

to file any motion the defendant may wish to file regarding a request that the

defendant be allowed to withdraw his plea of guilty in this matter.



                                         Signed: November 24, 2009




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